       Case 3:20-cv-00022-L-MDD Document 1 Filed 01/03/20 PageID.1 Page 1 of 7


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     TECHNOLOGIES, LLC, and ADVANCED
 9   GROW LABS LLC
10
                                UNITED STATES DISTRICT COURT
11
                               SOUTHERN DISTRICT OF CALIFORNIA
12
     STANLEY SCHEUFLER,                       Case No.: '20CV0022 L     MDD
13
                  Plaintiff,
14                                            NOTICE OF REMOVAL OF ACTION
          v(s).                               TO THE UNITED STATES DISTRICT
15                                            COURT FOR THE SOUTHERN
     ADVANCED GROW LABS                       DISTRICT OF CALIFORNIA
16                                            PURSUANT TO 28 U.S.C. §§ 1332,
     TECHNOLOGIES LLC, ADVANCED
                                              1441(a) AND (b)
17   GROW LABS LLC, GREEN THUMB
     INDUSTRIES INC., CHRISTOPHER             (Filed concurrently with Declaration of
18   MAYLE, AND DAVID LIPTON,                 Theresa Marchlewski; Declaration of David
                                              Lipton and Christopher Mayle; and Civil
19                                            Case Cover Sheet)
                  Defendant(s).
20                                            Complaint Filed: November 27, 2019
21
22
23        TO THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN
24   DISTRICT OF CALIFORNIA, PLAINTIFF STANLEY SCHEUFLER AND TO
25   HIS COUNSEL OF RECORD:
26        PLEASE TAKE NOTICE that Defendants Advanced Grow Labs Technologies,
27   LLC, and Advanced Grow Labs LLC (“Defendants”), hereby remove to this Court the
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                                                                 NOTICE OF REMOVAL
                                                                            CASE NO.
       Case 3:20-cv-00022-L-MDD Document 1 Filed 01/03/20 PageID.2 Page 2 of 7


 1   State Court Complaint described below and invokes this Court’s jurisdiction under the
 2   provisions of 28 U.S.C. §§ 1332 and 1441(a) and (b) as follows:
 3         1.     On November 27, 2019, a Complaint was filed in the Superior Court of the
 4   State of California, County of San Diego, entitled Stanley Scheufler v. Advanced Grow
 5   Labs, LLC, etc., et al., Case No. 37-2019-00063385-CU-BC-CTL (“Complaint”).
 6   (Declaration of Theresa Marchlewski “Marchlewski Decl.” ¶2, Ex. A).
 7         2.     On November 27, 2019, a Notice of Case Assignment and Case
 8   Management Conference was filed in the San Diego County Superior Court.
 9   (Marchlewski Decl. ¶3, Ex. B).
10         3.     On December 4, 2019, Defendants were served with the Complaint,
11   summons and related case documents. (Marchlewski Decl. ¶4, Ex. C). The Complaint
12   purports to assert claims for Breach of Contract, Breach of the Covenant of Good Faith
13   and Fair Dealing, Quantum Meruit, Unpaid Wages; Failure to Furnish Wage Statements;
14   Fraud and Conspiracy (Marchlewski Decl. ¶4, Ex. A).
15         4.     On December 13, David Lipton and Christopher Mayle accepted service of
16   the Complaint. (Marchlewski Decl. ¶5, Ex. D).
17         5.     True and complete copies of the complaint, summons, proofs of service and
18   related case documents are attached as Exhibits A-D.
19         6.     Defendants are informed and believe that the aforementioned exhibits
20   constitute all of the process, pleadings, and orders on file in the State Court action.
21         7.     This Notice of Removal has been filed within thirty (30) days after
22   Defendants AGLT and AGL were served with a copy of the Complaint upon which this
23   action is based. See Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc. (1999) 526 U.S.
24   344, 353 (service of process is the official trigger for responsive action by a named
25   defendant). This Notice of Removal therefore is filed within the time period provided by
26   28 U.S.C. § 1446(b)(1).
27         8.     In accordance with 28 U.S.C. § 1446(d), the undersigned counsel certifies a
28   copy of this Notice of Removal and all supporting pleadings promptly will be served on
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                                                                          NOTICE OF REMOVAL
                                                                                     CASE NO.
       Case 3:20-cv-00022-L-MDD Document 1 Filed 01/03/20 PageID.3 Page 3 of 7


 1   Plaintiff’s counsel and filed with the Clerk of the San Diego County Superior Court.
 2   Therefore, all procedural requirements under 28 U.S.C. § 1446 will be satisfied.
 3         9.     Venue of this action lies in the United States District Court for the Southern
 4   District of California pursuant to 28 U.S.C. §§ 1441, et seq. and 1391(a) because this is
 5   the judicial district of this court in which Plaintiff alleges the action arose and where
 6   Plaintiff resides. (Marchlewski Decl. ¶2, Ex. A, ¶¶1, 6.)
 7         10.    Diversity jurisdiction exists where there is diversity of citizenship between
 8   the parties at the time the lawsuit is filed. See Grupo Dataflux v. Atlas Global Group
 9   (2004) 541 U.S. 567, 571.
10         11.    To establish citizenship for diversity purposes, a natural person must be a
11   citizen of the United States and domiciled in a particular state. Kantor v. Wellesley
12   Galleries, Ltd. (9th Cir. 1983) 704 F.2d 1088, 1090. Persons are domiciled in the places
13   where they reside with the intent to remain or to which they intend to return. Kanter v.
14   Warner-Lambert Co. (9th Cir. 2001) 265 F.3d 853, 857. Plaintiff was, at the time of
15   filing the Complaint, and Defendants are informed and believe still is a resident and
16   citizen of the State of California consistent with Plaintiff’s allegations in the Complaint.
17   Marchlewski Decl. ¶2, Ex. A, ¶6.        Plaintiff alleges that the unlawful employment
18   practices complained of occurred in the State of California. (Marchlewski Decl. ¶2, Ex.
19   A, ¶1.)
20         12.    To establish citizenship for diversity purposes, the Ninth Circuit treats LLCs
21   like partnerships, holding that an LLC is a citizen of every state in which
22   owners/members are citizens. Johnson v. Columbia Props. Anchorage, LP, 437 F.3d
23   894, 899 (9th Cir 2006). Defendant Advanced Grow Labs LLC (“AGL”) is a limited
24   liability company organized under the laws of Connecticut, with its principal place of
25   business at 400 Frontage Road, West Haven, Connecticut 06516. Declaration of David
26   Lipton (“Lipton Declaration”, ¶4). As alleged in Plaintiff’s Complaint, AGL is a wholly-
27   owned subsidiary of Defendant Green Thumb Industries, Inc. (Marchlewski Declaration,
28   Exhibit “A,” ¶12, Lipton Declaration, ¶4).
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                                                                        NOTICE OF REMOVAL
                                                                                   CASE NO.
       Case 3:20-cv-00022-L-MDD Document 1 Filed 01/03/20 PageID.4 Page 4 of 7


 1         13.    Advanced Grow Labs Technologies, LLC, (“AGLT”) is a limited liability
 2   company organized under the laws of the state of Connecticut. AGLT’s principal place
 3   of business is located at 400 Frontage Road, West Haven, Connecticut 06516. (Lipton
 4   Declaration, ¶5). AGLT is 100% owned by AGL, which is its sole member. (Lipton
 5   Declaration, ¶5).
 6         14.    David Lipton is, and at all relevant times, has been a citizen of the state of
 7   Connecticut. (Lipton Declaration, ¶2).
 8         15.    Christopher Mayle is, and at all times mentioned in the Complaint, was, a
 9   citizen of the state of Connecticut.      (Declaration of Christopher Mayle, (“Mayle
10   Declaration”) ¶2).
11         16.    A corporation is citizen of every state and foreign state by which it has been
12   incorporated and of the state or foreign state where it has its principal place of business.
13   28 U.S.C. §1332(c). With respect to ascertaining a corporation’s principal place of
14   business for purposes of diversity jurisdiction, the United States Supreme Court has
15   adopted the “nerve center test.” The Hertz Corporation v. Friend (2010) 130 S.Ct. 1181.
16   Under the nerve center test, a corporation’s principal place of business is where a
17   corporation’s high level officers, direct, control and coordinate the corporation’s
18   activities. As alleged in Plaintiff’s Complaint, Defendant Green Thumb Industries, Inc.,
19   is a Canadian corporation that is headquartered in Chicago, Illinois. Green Thumb’s
20   stock is traded on the Canadian Securities Exchange. (Marchlewski Declaration, Exhibit
21   “A,” ¶11).
22         17.    This action also meets the amount in controversy requirement. 28 U.S.C.
23   § 1332(a) authorizes the removal of cases in which, among other factors, above, the
24   matter in controversy exceeds the sum or value of $75,000 exclusive of interest and costs.
25   Without admitting that Plaintiff could recover any damages, Defendants assert that the
26   amount in controversy in this action could exceed $75,000 exclusive of interest and costs.
27         18.    In determining whether the amount in controversy exceeds $75,000.00, the
28   court must presume Plaintiff will prevail on each and every one of his claims. Kenneth
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                                                                        NOTICE OF REMOVAL
                                                                                   CASE NO.
       Case 3:20-cv-00022-L-MDD Document 1 Filed 01/03/20 PageID.5 Page 5 of 7


 1   Rothschild Trust v. Morgan Stanley Dean Witter (C.D. Cal. 2002) 199 F.Supp.2d 993,
 2   1001 citing Angus v. Shiley Inc. (3d Cir. 1993) 989 F.2d 142, 146 (“the amount in
 3   controversy is not measured by the low end of an open-ended claim, but rather by
 4   reasonable reading of the value of the rights being litigated”). Moreover, the argument
 5   and facts set forth herein appropriately may be considered in determining whether the
 6   jurisdictional amount in controversy is satisfied. Cohn v. Petsmart, Inc. (9th Cir. 2002)
 7   281 F.3d 837, 843.
 8         19.    Without conceding that Plaintiff is entitled to damages, or could recover
 9   damages in any amount whatsoever, the amount in controversy in this action exceeds
10   $75,000.00. 28 U.S.C. § 1332(a). The amount in controversy exceeds the sum of
11   $75,000.00, exclusive of interest and costs, for the following reasons:
12                a.      Plaintiff alleges that Defendants breached their promise to pay him a
13         salary of $165,000. (Complaint, ¶¶2, 3, 21, 34-46, 48).
14                b.      Plaintiff also alleges that he is entitled to a 10.7% ownership in AGLT
15         which he asserts was worth millions of dollars. (Complaint, Exhibit “A,” ¶¶ 39, 40
16         and 91).
17                c.      Plaintiff also alleges that from February 2017 to September 30, 2018,
18         he rendered work, labor and services for which he was not paid, and claims the
19         reasonable value of such services were $233,750 plus the additional value of his
20         alleged equity interest in AGLT. (Complaint, Exhibit “A,” ¶¶60-62).
21                d.      In his prayer for relief, Plaintiff seeks compensatory damages in an
22         amount “not less than $1.07 million plus interest at the rate of 10%, as well as
23         attorneys’ fees and costs. (Complaint, Ex. A, Prayer for Damages paragraphs 1
24         and 4).
25                e.      The Complaint further seeks to recover exemplary and punitive
26         damages, according to proof. (Complaint at Prayer for Damages at ¶3, Ex. A).
27         20.    The amount in controversy may include general and special compensatory
28   damages and attorney’s fees which are recoverable by statute.             Galt G/S v. JSS
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                                                                        NOTICE OF REMOVAL
                                                                                   CASE NO.
       Case 3:20-cv-00022-L-MDD Document 1 Filed 01/03/20 PageID.6 Page 6 of 7


 1   Scandinavia (9th Cir. 1998) 142 F.3d 1150, 1155-56 and Goldberg v. CPC Int’l, Inc. (9th
 2   Cir. 1982) 678 F.2d 1365, 1367, cert. denied, (1982). The Court may examine the nature
 3   of the action and the reliefs sought and take judicial notice of attorney’s fee awards in
 4   similar cases. See e.g., Simmons v. PCR Technology (N.D. Cal. 2002) 209 F.Supp.2d
 5   1029, 1035 (attorneys’ fees in individual employment discrimination cases often exceed
 6   damages).
 7         21.   Punitive damages also are included in calculating the amount in controversy.
 8   Davenport v. Mutual Ben. Health & Acc. Ass’n (9th Cir. 1963) 325 F.2d 785, 787. See
 9   also, Aucina v. Amoco Oil Co. (S.D. Iowa 1994) 871 F.Supp. 332, 334. See also, White
10   v. FCI USA, Inc. (5th Cir. 2003) 319 F.3d 672, 674-76 (it was facially apparent plaintiff’s
11   wrongful termination claim exceeded $75,000 based on her “lengthy list of compensatory
12   and punitive damages” including loss of pay, fringe benefits, impaired earning capacity
13   and emotional distress combined with a claim for attorney fees.).
14         22.   Accordingly, Plaintiff’s allegations satisfy the jurisdictional prerequisite for
15   the amount in controversy. It cannot be said to a legal certainty that Plaintiff would not
16   be entitled to recover the jurisdictional amount. Anthony v. Security Pacific Financial
17   Services, Inc. (7th Cir. 1996) 75 F.3d 311, 315; Watson v. Blankenship (10th Cir. 1994)
18   20 F.3d 383, 386-87.
19         23.   Therefore, the alleged claims, damages and fees requested in Plaintiff’s
20   Complaint demonstrate the amount in controversy in this case exceeds the requirements
21   under 28 U.S.C. § 1332(a).
22         24.   Defendants David Lipton, Christopher Mayle and Green Thumb Industries
23   Inc. consent to this removal. (Lipton Declaration, ¶2, Mayle Declaration, ¶2, Notice of
24   Joinder and Consent in Removal filed concurrently herewith by Green Thumb).
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                                                                         NOTICE OF REMOVAL
                                                                                    CASE NO.
        Case 3:20-cv-00022-L-MDD Document 1 Filed 01/03/20 PageID.7 Page 7 of 7


 1            WHEREFORE, Defendants remove the above action now pending in the Superior
 2   Court of the State of California for the County of San Diego to this Court.
 3
 4   DATED: January 3, 2020                 JACKSON LEWIS P.C.
 5
 6
 7                                     By: /s/Theresa M. Marchlewski
 8                                         Theresa M. Marchlewski
                                           Dionna F. Shear
 9
10                                          Attorneys for Defendants
                                            ADVANCED GROW LABS TECHNOLOGIES,
11                                          LLC, and ADVANCED GROW LABS LLC
12   4821-1888-0688, v. 2

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